Case 4:20-cv-00068-RWS-CMC Document 151-1 Filed 12/22/20 Page 1 of 1 PageID #: 3585




                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


    JUAN LOZADA-LEONI,                            §
    Plaintiff,                                    §
                                                  §
    v.                                            §
                                                  §          Civil Action No. 4:20-cv-00068
                                                  §
    MONEYGRAM INTERNATIONAL,                      §                    RWS-CMC
    INC., and MONEYGRAM                           §
    PAYMENT SYSTEMS, INC.,                        §
    Defendants                                    §
                                                  §
                                                  §



         ORDER ON AMENDED MOTION FOR REVISION OF PLEADING SCHEDULE
                          ESTABLISHED IN DKT. 143
           THIS MATTER having come before the Court by Intervenor KLG’s MOTION FOR

   AMENDED REVISION OF PLEADING SCHEDULE ESTABLISHED IN DKT. 143, and the

   Court, having reviewed said Motion, and for good cause shown, it is hereby:

           ORDERS that
           Intervenor is to file its Reply to Plaintiff’s Response to Intervenor’s Request For Attorney

   Fees on 01/ O2/2021, and Plaintiff to file its Sur-reply to Intervenor’s 01/O2/ 2021 filing on

   01/15/2021.


   SO ORDERED.




   ORDER ON AMENDED MOTION FOR REVISION OF PLEADING SCHEDULE                                Page 1 of 1
